Case 2:04-cV-02937-.]DB-tmp Document31 Filed 06/24/05 Pagel f2 Page|D 19
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FOR THE WESTERN DISTRICT oF TQ§S§E§§F;EJ' 13-@1'0

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WESTERN DIvIsIoN w.D. `o`i: ~r':?j,` m;';,;-;FJH¢S

TONI SWANIGAN, LILLIE MAE
MCGHEE-ALEXANDER, SHERRY
MOORE, JACQUELINE BROOKS,
DARRELL MACKEY [SIC], and
ANISSA T. SWANIGAN for themselves
and all persons similarly situated,

Civil Action No. 2:04cv2937-JDB-tmp
vs.

NORTHWEST AIRLINES, INC.,

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Plaintiffs, )
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Defendant. )
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ORDER
Having considered Defendant Northwest Airlines’ Consent Motion for Leave to File
Reply Briefs in Support of its Motion for Judgment on the Pleadings with Respect to Plaintiffs’
Class Action Allegations and its Motion to Stay Discovery,
IT IS I-[EREBY ORDERED that Defendant’S Motion is GRANTED, and Northwest’s
Reply Brief in Support of its Motion to Stay will be deemed filed as of the date of this Order, and
Northwest’s Reply Brief in Support of its Motion for Judgrnent on the Pleadings With Respect to

Plaintiffs’ Class Action Allegations will be deemed filed when submitted

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Hon.vTu M. Ph\am,
l United States Magistrate Judge

l'lCB

so Ordered this 941 day of June 2005.

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Notice of Distribution

This notice confirms a copy of the document docketed as number 31 in
case 2:04-CV-02937 Was distributed by faX, mail, or direct printing on
June 27, 2005 to the parties listed.

 

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Honorable .l. Breen
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